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                                     INITIAL APPEARANCE CALENDAR

Magistrate Judge RoberJ M- LeV\|                                           Date: 10/30/19
Magistrate Case Number: 19-1014 M                                     LOG #:_ 4-.oip--4:bgpn^
Defendant's Name: AARON WEINREB

 X      Court appointed counsel.             Defendant retained counsel.
Defense Counsel: MIA EISNER GRYNBERG                                        CJA:         FDNY:^^        RET:—
A.U.S.A. MICHAEL BUSHWACK                                                  Clerk : E Williams
Interpreter :                                                      Language:

      ARRAIGNMENT on Complaint held.                       Government Agent Sworn

      DETENTION HEARING Held:                      Government opposed bail for reasons stated on the record.
            Bond set at ^ 1 tCpOi DQQ                  .           Bond set on consent of both parties.
      Defendant :             released          held pending satisfaction of bond conditions.
            Defendant advised of bond conditions set by the Court and signed the bond.
      A,Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
           (Additional) surety/ies to co-sign bond by
            After detention hearing, Court orders detention in custody.              Leave to reopen granted
      Temporary Order of Detention Issued. Bail Hearing set for
      At this time, defense counsel states on the record that the defendant does not have a bail
      application / package. Order of detention entered with leave to reapply to a Magistrate
      or to the District Court Judge to whom the case will be assigned.
      Preliminary Hearing set for:^                                     ; or                    by defendant
      Status Conference set for:                                  before Judge
      Medical memo issued.

       REMOVAL (Rule 5)PROCEEDING held. To the district of:
           Identity hearing held. Court           orders removal           denies removal
            Defendant waives:            identity hearing      preliminary hearing
            Identity/ Removal Hearing set for:
                No bail application presented to the Court. Commitment to the District                  entered.
Other Comments/Rulings:.
